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  Illinois Pattern Jury Instructions-Civil - 190.00&nbsp;The Nursing Home Care Act  -&nbsp;New section approved May and July 2014; B31.08, 31.08.01B, B31.08.02, 45.04A, 45.04B &amp; 45.04C - approved May 2014 
  Illinois Pattern Jury Instructions-Criminal - 1.01, 13.77, 13.78, 13.81, 18.15, 18.16, 18.35K, 18.35L, 18.35M &amp;  18.35N- approved  July 18, 2014 
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   The Third Branch - A Chronicle of the Illinois Supreme Court
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